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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                          Plaintiffs,
                                                       Civil Action No.: 1:25-cv-10495
             v.

 KRISTI NOEM, in her official capacity as
 Secretary of Homeland Security, et al.,

                          Defendants.


                                                 ORDER

        Upon consideration of the Plaintiffs’ Ex Parte Motion to Proceed Under Pseudonym [Doc.

No. 5], it is hereby ordered that, pending further order, (1) Doe Plaintiffs are granted leave to

proceed in this matter under pseudonyms; and (2) all parties shall submit pleadings, briefing and

evidence either (a) using the Doe Plaintiffs’ pseudonyms instead of their real names and other

personally identifying information or (b) by redacting the Doe Plaintiffs’ names and other personally

identifying information. It is further ordered that Plaintiffs’ ex parte request for a joint protective

order is denied without prejudice and may be refiled with a Local Rule 7.1 certificate after

Defendants’ counsel has appeared.

        Plaintiffs shall serve a copy of this Order on Defendants.

SO ORDERED.

                                                                 /s/ Indira Talwani
                                                                 United States District Judge

Dated: March 3, 2025
